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13                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15
      DEFENSE FOR CHILDREN
16    INTERNATIONAL – PALESTINE; AL-                  Case No.: 23-cv-05829
      HAQ; AHMED ABU ARTEMA;
17    MOHAMMED AHMED ABU ROKBEH;                      DECLARATION OF JOSH PAUL IN
      MOHAMMAD HERZALLAH; A.N.;                       SUPPORT OF PLAINTIFFS’ MOTION
18    LAILA ELHADDAD; WAEIL ELBHASSI;                 FOR PRELIMINARY INJUNCTION
      BASIM ELKARRA; and DR. OMAR EL-
19
      NAJJAR
20                                                    Hearing: January 26, 2024 at 9:00 am
                             Plaintiffs,
21
              v.                                      Honorable Jeffrey S. White
22                                                    United States District Judge
      JOSEPH R. BIDEN, JR., President of the
23
      United States, ANTONY J. BLINKEN,
24    Secretary of State, LLOYD JAMES
      AUSTIN III, Secretary of Defense, in their
25    official capacities,
26                           Defendants.
27

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 1 I, Josh Paul, pursuant to 28 U.S.C. § 1746, declare the following is true and correct:

 2      1. For over 11 years, from April 2012 until October 2023, I served as Director of Congressional
 3
            and Public Affairs in the U.S. Department of State's Bureau of Political-Military Affairs (PM).
 4
            PM is responsible for the oversight and approval of U.S. arms transfers conducted via the
 5
            Foreign Military Sales (FMS) and Direct Commercial Sales (DCS) processes, as well as for
 6

 7          the obligation of the State Department's military grant assistance funding, including Foreign

 8          Military Financing (FMF). I was responsible for the Bureau’s relationships with Congress, the

 9          media, and civil society, and represented the Assistant Secretary of State for Political-Military
10
            Affairs in briefings to Congress. In this capacity, my responsibilities included “clearing on”—
11
            i.e., being a part of the approval process for—all major arms transfers requiring congressional
12
            notification under the Arms Export Control Act (22 U.S.C. §2751 et seq.), and all military
13
            grant assistance notifications to Congress under the Foreign Assistance Act (22 U.S.C. §2151
14

15          et seq.). I also played a significant role in policymaking processes concerning broader U.S.

16          arms transfer policy, including the drafting of the Conventional Arms Transfer (CAT) Policy
17          that established the executive branch’s priorities and framework for adjudicating the export of
18
            arms. In addition, between June and December 2021 I was detailed on a part-time basis to the
19
            U.S. Department of State’s Bureau of Democracy, Human Rights, and Labor (DRL), Office of
20
            Security and Human Rights, as a Special Advisor on Arms Transfers, where my responsibilities
21

22          included assessing existing processes for the human rights review of proposed arms transfers,

23          and making recommendations to strengthen those processes. I have previously served as a civil

24          servant in the U.S. Department of Defense’s Office of the Under Secretary of Defense for
25          Policy (Office of the Deputy Assistant Secretary of Defense for the Middle East (DASD-ME),
26
            and as a National Security Consultant to the Government of Iraq as a civil servant for both the
27
            U.S. Department of Defense and Department of State. I have also held other roles in the
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 1        national security and international relations fields.
 2     2. The United States military grant assistance to Israel on an annual basis has for decades
 3
          exceeded the provision of U.S. military grant assistance to any other country except, during
 4
          specific periods, to Ukraine, Iraq and Afghanistan.
 5
       3. In 2016, the United States and Israel signed a Memorandum of Understanding that established
 6

 7        a 10-year baseline starting in 2018 of annual military assistance to Israel totaling no less than

 8        $3.3 billion in FMF, plus $500 million in Department of Defense funding for missile defense

 9        systems development. This annual baseline funding constitutes between 10–20 percent of
10
          Israel’s annual military budget. For Israel, unlike for every other country in the world, the FMF
11
          portion of this funding is considered “obligated upon appropriation,” and unlike every other
12
          country in the world which receives their FMF in installments, Israel receives its FMF in a
13
          lump sum, which, unlike every other country except for Egypt, is held in an interest-bearing
14

15        account at the Federal Reserve Bank of New York.

16     4. The United States is the major foreign supplier to Israel of defense articles and services, funded
17        both through FMF and through Israel's own defense budget. During my tenure in the
18
          Department of State, major arms sales notified to Congress for Israel via the FMS process have
19
          included, but not been limited to, CH-53K Heavy Lift Helicopters with support and related
20
          equipment notified to Congress for an estimated cost of $3.4 billion; Joint Direct Attack
21

22        Munition (JDAM) Tail Kits, munitions, and associated equipment, parts and logistical support

23        notified to Congress for an estimated cost of $1.879 billion; fuels and petroleum-based

24        products notified to Congress at a total value of over $5 billion; and numerous other cases,
25        including many below the congressional notification threshold. Between 1950 and 2022, Israel
26
          was the second greatest customer for U.S. arms by value globally, with combined FMS cases
27

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 1          totalling over $53 billion.1
 2       5. During my tenure, the United States government notified Congress of the proposed issuance
 3
            of export licenses via the DCS process for the provision of defense articles and services to
 4
            Israel also valued in the billions of dollars, including to support the qualification, modification,
 5
            test, repair, assembly, manufacture, and production of components and parts for integration
 6

 7          into the Tamir Interceptor used in the Iron Dome system; M4 5.56mm automatic rifle barrels;

 8          for the installation, testing, maintenance, and repair of ASPRO–A (Trophy) anti-tank active

 9          protection systems for armored fighting vehicles; to support weapons integration, flight test,
10
            and hardware delivery of JDAM variants and Small Diameter Bomb Increment I variants; to
11
            support the design, development, engineering, integration, marketing, production,
12
            manufacturing, testing, depot level maintenance, modification, demonstration and processing
13
            of the Missile Firing Unit (MFU) and Stunner Interceptor Subsystems for the David's Sling
14

15          Weapon System; to support the production, inspection, assembly, test and repair top-level

16          assemblies, sub-assemblies, and components used in the SPICE Family of Gliding Bomb
17          Assemblies; 5.56mm automatic rifles and major components; to support the performance of
18
            maintenance, repair and overhaul services of J52 and F100 engines to maintain readiness of
19
            the Israeli Air Force's fleet of A-4, F-15 and F-16 aircraft; to support the development,
20
            integration, and support for F–135 propulsion system; Organizational Level (O-Level)
21

22          maintenance, field training, and services for the operation and sustainment of the F-35

23          Lightning II air systems operated by the Ministry of Defense in Israel; to support the

24          manufacture, integration, installation, operation, testing, maintenance, and repair of the
25

26
     1
          Defense Security Cooperation Agency, U.S. Dept. of Defense, Historical Sales Book,
27 Fiscal Years 1950–2022, https://www.dsca.mil/sites/default/files/2023-
   01/FY%202022%20Historical%20Sales%20Book.pdf.
28

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 1        120mm GPS Phase 1 and (SAL/GPS) Phase 2 Dual Mode Mortar; to support the installation,
 2        testing, maintenance, and repair of Trophy anti-tank active protection systems; 2000 lb.
 3
          Tritonal-filled MK84 bombs; for the manufacture of F-15 aircraft structural components; to
 4
          support the manufacture, maintenance, repair and overhaul of the J79-GE-J1E and J79-17
 5
          aircraft engines; for MK80 Series/BLU-109 weapons; the JDAMs and Small Diameter Bomb
 6

 7        (SDB), and numerous other cases below the congressional notification threshold.

 8     6. During my tenure, the U.S. has also provided to Israel, via grant and sale, over 500 transfers

 9        of excess defense articles (EDA) from Department of Defense stocks including, but not limited
10
          to, cargo and tanker trucks of multiple types, armored mobile guard towers, camouflage and
11
          deception equipment, parachutes, firefighting equipment, F-15 aircraft, CH-53 and SH-60F
12
          helicopters, communications equipment, barrels for grenade launchers, periscopes for armored
13
          vehicles, M1064 Mortar Carriers, aircraft parts, components and accessories, aircraft
14

15        launching, landing and ground handling equipment, medical, dental, and veterinary equipment

16        and supplies, M109A5 self-propelled howitzers, M270 Multiple Launch Rocket System
17        launchers, ammunition of various calibers, rifles of various types, and Lantirn Targeting Pods.
18
       7. Many of these systems transferred via FMS, DCS, and EDA rely on proprietary U.S.
19
          technologies, meaning they could not be sourced from any supplier other than a U.S. entity or
20
          via the U.S. government.
21

22     8. Under existing U.S. law, the United States may also make available to Israel, upon

23        authorization of the Secretary of Defense, defense articles present in the War Reserve Stockpile

24        for Allies-Israel (WRSA-I) (alternatively known as the War Reserve Stockpile Ammunition-
25        Israel). Withdrawals of weapons, munitions, and equipment by Israel from WRSA-I do not go
26
          through the regular arms transfer approval process. Rather, upon approval of the Secretary of
27
          Defense, Israel may draw from the stockpile, and an accounting is performed later, which is
28

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 1        then typically built into a retroactive FMS case. This means that it has not been possible for
 2        the State Department to apply existing and applicable laws for transfers from WRSA-I, nor to
 3
          conduct any review, as it would for FMS, DCS, or EDA transfers, as required by law. As such,
 4
          not only does the Executive Branch not apply the Conventional Arms Transfer Policy on
 5
          WRSA-I items being provided to Israel, but there is no formal means whatsoever for the
 6

 7        Secretary of State to conduct the “continuous supervision…of economic assistance, military

 8        assistance, and military education and training programs, including but not limited to

 9        determining whether there shall be a military assistance (including civic action) or a military
10
          education and training program for a country and the value thereof, to the end that such
11
          programs are effectively integrated both at home and abroad and the foreign policy of the
12
          United States is best served thereby,” as required under the Foreign Assistance Act (22 U.S.C.
13
          § 2382). The United States has publicly acknowledged, including in Department of Defense
14

15        press briefings on October 23 and November 21, 2023, that it has been providing defense

16        articles from WRSA-I to Israel since after October 7, 2023.
17     9. I resigned from my position by October 20, 2023, because I believed that, in the wake of the
18
          October 7th attack by Hamas, the United States was authorizing transfers of arms to Israel of
19
          weapons that would be used to commit human rights abuses and lead to significant civilian
20
          casualties, and that the policies, laws, and processes in place to prevent the transfer of arms
21

22        into such a circumstance were not being adequately followed in the authorization process.

23     10. Since October 7, the United States has provided extensive weapons, munitions, and equipment

24        to Israel including, according to public reporting, over 57,000 artillery rounds and over 15,000
25        air-to-ground munitions of various types. It has also been widely reported that Israel is using
26
          U.S.-origin weapons in its current attacks in Gaza, including but not limited to fighter jets,
27
          attack helicopters, and various munitions including 155mm artillery shells, JDAMs, MK84
28

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 1        bombs, Hellfire missiles, and tank ammunition. Indeed, it would be impossible for Israel to
 2        have conducted the past two months of military operations as it has without utilizing a vast
 3
          amount of U.S.-origin weaponry.
 4
       11. I believe it is clear that the U.S. government is failing not only to execute the due diligence
 5
          required under existing U.S. laws, but is actively creating and utilizing processes that help
 6

 7        insulate Israel from accountability or sanctions in accordance with existing U.S. laws and

 8        policies. In my experience, the U.S. government is aware that U.S.-origin weapons, munitions,

 9        and equipment will be used by Israel in ways that are contrary to U.S. law, including applicable
10
          provisions of the Foreign Assistance Act, Arms Export Control Act, Leahy Laws, the
11
          Conventional Arms Transfer Policy (NSM-18) of February 2023, among others, and Israel’s
12
          own commitments to the United States under applicable processes and agreements, and other
13
          requirements that their end use of U.S.-origin weapons, munitions, and equipment be used in
14

15        accordance with international law. The failure to execute meaningful due diligence or

16        adequately apply existing U.S. laws permits the unfettered flow of military assistance to Israel
17        forces with minimal oversight that leads to unnecessary civilian harm, gross violations of
18
          human rights, and impunity for violations of international law.
19
       12. For instance, the Leahy Laws prohibit the provision of military assistance to any unit if the
20
          Secretary of State has credible information that such unit has committed a gross violation of
21

22        human rights. For almost every country in the world, this means that all potential recipients of

23        U.S. military grant assistance, including training, are vetted prior to receiving U.S. weapons,

24        equipment, or training, down to the unit level, or in some cases, the individual level. For Israel,
25        however, the United States provides military assistance, and then gathers reports of potential
26
          gross violations of human rights through the Israel Leahy Vetting Forum (ILVF). The
27
          Department of State has received and reviewed multiple reports of potential gross violations
28

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 1        of human rights (GVHRs) in this forum that human rights experts in the Department of State
 2        find credible. For the vast majority of countries that receive U.S. military assistance, a single
 3
          stakeholder can raise concern on a specific unit and prevent assistance to that unit, however,
 4
          the ILVF first requires consensus from multiple stakeholders, including the Bureau of Near
 5
          East Affairs (NEA) and the U.S. Embassy in Jerusalem and then, unlike the regular Leahy
 6

 7        process, approval at the Deputy Secretary of State level. Importantly, the ILVF has never come

 8        to consensus that an Israeli unit should be sanctioned under the Leahy Laws due to a gross

 9        violation of human rights. For Egypt and Ukraine, the two partners where a similar process
10
          exists, there have been no such obstacles to making determinations concerning GVHRs in the
11
          Leahy Vetting Forum process, in some cases with even less compelling evidence than in the
12
          case of Israel. In one case under active consideration by the Department of State during my
13
          period of involvement in the ILVF, involving reporting of the sexual assault of a 15-year-old
14

15        Palestinian child in Israeli custody by their interrogators, the Department of State requested

16        information from the Government of Israel via email on July 28, 2021 – a clear indicator that
17        the Department considered this allegation to be likely credible. On July 29, 2021, the
18
          Government of Israel raided the offices of the charity that had first reported these allegations,
19
          and confiscated their computers. No sanction has been applied under Leahy vetting or any
20
          other policy or law to the unit involved. Based on my experience, I agree with the assessment
21

22        of Tim Rieser, a longtime senior adviser to former Sen. Patrick Leahy and a key architect and

23        drafter of the Leahy Laws, who recently stated, “The Israelis too often seem to act as though

24        international law does not apply to them. And our government has acted as though the Leahy
25        Law doesn’t apply to [the Israelis].”
26
       13. Similarly, in the Fiscal Year 2014 and 2015 State and Foreign Operations Appropriations Bills,
27
          Congress included, via the Senate Report, reporting requirements on crowd control items
28

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 1          provided to foreign security forces. The same bills contained a requirement in Section 7010
 2          that “[f]unds appropriated by this Act should not be used for tear gas, small arms, light
 3
            weapons, ammunition, or other items for crowd control purposes for foreign security forces
 4
            that use excessive force to repress peaceful expression, association, or assembly in countries
 5
            undergoing democratic transition.” The Department of State never complied with that
 6

 7          congressional reporting directive because the report would have drawn attention to the

 8          significant amount of such materiel that the United States was providing to Israel, and may

 9          have prevented the further provision of such materiel under Section 7010 given that it was
10
            being used, in part, to repress protests calling for equality for Palestinian citizens of Israel and
11
            Palestinians under Israeli rule. After I informed the Senate Appropriations Committee of this
12
            reason for the report not being submitted, the requirement was dropped from future
13
            Appropriations language passed by Congress from Fiscal Year 2016 onwards.
14

15       14. More broadly, the United States does not simply provide weapons to independent actors with

16          no further consequences or concern for their use, but takes into account, and organizes itself to
17          address, U.S. intent as to how those weapons are expected to be used—and can and does step
18
            in even after transfers have occurred, to address the ways in which other partners are using
19
            U.S.-origin weapons. For example, the United States takes a Total Package Approach (TPA)
20
            to FMS. As the Department of Defense explains, a “TPA ensures that FMS purchasers can
21

22          obtain support articles and services, to include construction of necessary support facilities,

23          required to introduce and sustain equipment and to operate in a responsible and effective

24          manner consistent with U.S. intent in approving the transfer” (italics added).2
25       15. In conclusion, and based on my over 11 years of working within the United States Government
26
27   2
    Defense Security Cooperation Agency, Targeting Infrastructure Policy, DSCA Policy 19-58
   [SAMM E-Change 461], Nov. 27, 2019, https://samm.dsca.mil/sites/default/files/DSCA%2019-
28 58.pdf.

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 1          on arms transfers and security assistance, it is my testimony that the United States provides
 2          and transfers to Israel a vast amount of military critical technologies and capabilities; that the
 3
            United States is aware that these military critical technologies and capabilities will be used in
 4
            ways that are contrary to U.S. law and Israel's own commitments to the U.S. under applicable
 5
            processes and agreements, and other requirements including international law; that the U.S. is
 6

 7          willing and able to address such violations when they arise, or could arise, with other partners;

 8          and, that should the court direct the suspension of such military transfers and assistance to

 9          Israel, it would—“more likely than not,” to borrow a phrase from the Biden Administration’s
10
            own Conventional Arms Transfer Policy—have an impact on the Israeli military operations of
11
            concern to the Plaintiffs in this case.
12

13
     I declare under the penalty of perjury under the laws of the United States of America that the foregoing
14

15 is true and correct. Executed on December 22, 2023, in Chevy Chase, Maryland.

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19
20          JOSH PAUL

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